                                                       Case 2:20-cv-11124-JGB-MAA Document 115-2 Filed 10/16/23 Page 1 of 3 Page ID
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                                                         4
                                                             Attorneys for Attorneys for Defendants County of Los Angeles, a public entity, and
                                                         5   public employees Verenice Salazar, Patricia Blaylock and Janet Nichols
                                                         6

                                                         7                        UNITED STATES DISTRICT COURT
                                                         8                      CENTRAL DISTRICT OF CALIFORNIA

                                                         9
                                                        10   ANNA NEAL NEGRETE,                              Case No. 2:20-cv-11124-JGB-MAA

                                                        11                      Plaintiff,
TORRES & BRENNER




                                                                                                             DECLARATION OF ANITA
                                                             vs.
              301 East Colorado Boulevard, Suite 614




                                                        12                                                   SUSAN BRENNE, ESQ. IN
                                                                                                             SUPPORT OF DEFENDANTS
                   Pasadena, California 91101




                                                        13   (LOS ANGELES COUNTY Collectively                COUNTY OF LOS ANGELES,
                         (626) 792-3175




                                                             by and through, LOS ANGELES                     VERENICE SALAZAR,
                                                        14                                                   PATRICIA BLAYLOCK, AND
                                                             COUNTY DEPARTMENT OF                            JANET NICHOLS’ MOTION TO
                                                        15   CHILDREN AND FAMILY SERVICES,                   DISMISS PLAINTIFF’S FOURTH
                                                             LOS ANGELES COUNTY                              AMENDED COMPLAINT [ECF
                                                        16                                                   112]
                                                             DEPARTMENT OF MENTAL HEALTH,
                                                        17   KEDREN ACUTE PSYCHIATRIC                        [Pursuant to F.R.C.P. 12(b)(6)]
                                                             HOSPITAL & CMHC), BOBBY CAGLE,
                                                        18
                                                             an individual, VERENICE SALAZAR, an             Complaint filed: December 7, 2020
                                                        19   individual, PATRICIA BLAYLOCK, an               FAC: April 20, 2021
                                                             individual, JANET NICHOLS, an                   SAC: March 4, 2022
                                                        20                                                   TAC: October 24, 2022
                                                             individual, SHARON BATEMAN,                     4thAC: October 3, 2023
                                                        21   JONATHAN WILLEY, an individual,
                                                             MELANIA VARTANIAN, an individual,
                                                        22
                                                             VANTY VASQUEZ, an individual,
                                                        23   IVETTE TORRES, an individual,
                                                             ROBERT WEISS, an individual,
                                                        24
                                                             MATTHEW WONG, an individual,
                                                        25   CHILDREN’S LAW CENTER OF
                                                        26
                                                             CALIFORNIA A CALIFORNIA NON
                                                             PROFIT CORPORATION,
                                                        27
                                                                                 Defendants.
                                                        28

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                                                              BRENNER DECL. ISO DEFS’ MOTION TO DISMISS PLAINTIFF’S 4AC   [2:20-cv-11124-JGB-MAA]
                                                       Case 2:20-cv-11124-JGB-MAA Document 115-2 Filed 10/16/23 Page 2 of 3 Page ID
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                                                         1         I, Anita Susan Brenner, hereby declare:
                                                         2         1.      That I am an attorney licensed to practice law in the State of California
                                                         3   and am one of the attorneys of record for defendants County of Los Angeles, a
                                                         4   public entity Defendants County of Los Angeles, a public entity, and public
                                                         5   employees, Verenice Salazar, Patricia Blaylock and Janet Nichols in Anna Neal
                                                         6   Negrete v. Los Angeles County, et al., U.S. District Court, Central District, Case
                                                         7   No. 2:20-cv-11124-JGB-MAA.
                                                         8         2.      If called and sworn to testify, the following would be within my
                                                         9   personal knowledge, and I would so state.
                                                        10         3.      Plaintiff filed the Fourth Amended Complaint (“4AC”), on October 3,
                                                        11   2023. I immediately asked Plaintiff’s counsels if they would agree to a 10-day
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              301 East Colorado Boulevard, Suite 614




                                                        12   extension. Mr. Neal agreed. However, due to the press of business, I asked him for
                   Pasadena, California 91101




                                                        13   a 14-day extension. He did not respond. Later, he told me that he was in trial.
                         (626) 792-3175




                                                        14         4.      On October 5th, I filed a request for an extension. See ECF 113. In that
                                                        15   request, I stated, “Plaintiff’s counsel Mr. Neal agreed to a 10-day extension, but has
                                                        16   not responded to a further request for the 14-day extension, nor has Mr. Neal signed
                                                        17   a proposed stipulation. If he does agree, we will file the stipulation separately.”
                                                        18         5.      I also sent a lengthy correspondence to Plaintiff’s counsels, Na’Shaun
                                                        19   L. Neal, Esq. and Lakeisha Monique Dorsey, Esq, on October 10, 2023. The letter
                                                        20   outlined many of the issues in the present motion, in great detail, with references to
                                                        21   the docket, the 4AC, and to case authority. I did not hear back from Mr. Neal nor
                                                        22   Ms. Dorsey.
                                                        23         6.      During the week of October 9, 2023, I tried to set up a phone
                                                        24   conference with Plaintiff’s counsels. I was under the impression that we could talk
                                                        25   on October 12, 2023. On October 12, 2023, the meeting did not occur, and I was
                                                        26   advised that due to their trial schedule Ms. Dorsey and Mr. Neal could not meet
                                                        27   with me until after October 16, 2023. Unfortunately, the deadline for this motion is
                                                        28   October 16, 2023.

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                                                              BRENNER DECL. ISO DEFS’ MOTION TO DISMISS PLAINTIFF’S 4AC    [2:20-cv-11124-JGB-MAA]
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                                                         1         7.     On October 11, 2023, Mr. Neal authorized us to file the stipulation to
                                                         2   extend the deadline to respond. We filed the stipulation as ECF 114.
                                                         3         I declare under penalty of perjury under the laws of the State of California
                                                         4   that the foregoing is true and correct to the best of my knowledge.
                                                         5         Executed this 16th day of October 2023, at Pasadena, California.
                                                         6
                                                                                               /s/ Anita Susan Brenner
                                                         7                                   Anita Susan Brenner, Esq.,
                                                                                             Declarant
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              301 East Colorado Boulevard, Suite 614




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                   Pasadena, California 91101




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                                                             BRENNER DECL. ISO DEFS’ MOTION TO DISMISS PLAINTIFF’S 4AC    [2:20-cv-11124-JGB-MAA]
